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                        IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF UTAH
                                    CENTRAL DIVISION
 In Re:
                                                    Case No. 24-21689
 Corbin William Archer
                                                    Chapter 13
 Lisa Ann Collet Archer,
                                      Hon. Joel T. Marker
                    Debtor(s).
              DEBTORS’ MOTION TO EXTEND TIME TO FILE DOCUMENTS

          COME NOW Debtors, by and through counsel of record, and hereby move this Court for

an Order granting Debtors’ Motion to Extend Time to provide documents as outlined in the order

continuing confirmation. Debtors represent the following in support of their motion:

   1. Debtors filed this Chapter 13 bankruptcy petition on April 12, 2024.

   2. Debtors were required by the courts to file documents with the trustee by 7/30/2024.

   3. Debtors are working on acquiring the documents necessary to assist their counsel in

          preparing the necessary documents and amendments.

   4. Debtors need an additional 21 days until August 20, 2024 to file and provide the

          remaining documents.

   5. Debtors have filed some with the court and provided to the trustee some of the documents

          but need more time in order to file the remaining documents listed below:

             a. Venmo Financial Accounts



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           b. Amended Schedule A/B

           c. Amended Schedule D

           d. Amended Statement of Financial Affairs

           e. Declaration of Filed Tax Returns

           f. Documents relating to the transfer of real property to Greg Dudey

           g. Formal Accounting of all proceeds of loan with Greg Dudey

           h. Documents relating to the transfer or assignment of interest in the property to

               RSVP Holdings

           i. Amended Schedule E/F

           j. Evidence as to the loan balance

           k. Amended plan to include step payment to Chrysler Capital in Part 3.1

           l. Book end pay advices used to calculate form 122C-1

   6. Debtors seek an additional 14 days to file the above-mentioned documents to avoid

        having their case dismissed

        WHEREFORE, Debtors pray this Motion to Extend Time to file the afore-mentioned

documents be granted and the time to file and provide the documents be extended to August 20,

2024.

Dated July 30, 2024

                                                          /s/
                                                          Steven M. Rogers
                                                          Attorney for Debtors




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           CERTIFICATE OF SERVICE – BY NOTICE OF ELECTRONIC FILING (CM/ECF)

         I hereby certify that on July 30, 2024 I electronically filed the foregoing DEBTORS’ EX-PARTE
MOTION TO EXTEND TIME TO FILE MOTIONS TO AVOID LIENS with the United States Bankruptcy Court
for the District of Utah by using the CM/ECF system. I further certify that the parties of record in this case, as
identified below, are registered CM/ECF users and will be served through the CM/ECF system.

    •   Jesse A.P. Baker ecfutb@aldridgepite.com, jbaker@aldridgepite.com
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    •   Aaron M. Waite aaronmwaite@agutah.gov


                               CERTIFICATE OF SERVICE – MAIL, OTHER

     I hereby certify that on July 30, 2024 I caused to be served a true and correct copy of the foregoing
DEBTORS’ EX-PARTE MOTION TO EXTEND TIME TO FILE MOTIONS TO AVOID LIENS as follows:

        Mail Service - By regular first class United States mail, postage fully pre-paid, addressed to:
        -NONE-

        Mail Service to Entire Matrix – By regular first class United States mail, postage fully pre-paid,
addressed to all parties who did not receive electronic service as set forth herein listed on the Official Court
Mailing Matrix dated July 30, 2024 attached hereto.
        -NONE-

                                            /s/
                                        Arthur Mantoan
                                        Paralegal




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